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 6
 7                                 UNITED STATES DISTRICT COURT
 8                               CENTRAL DISTRICT OF CALIFORNIA
 9
       ANTHONY HINOJOS-LOPEZ, an Individual; )
10                                                ) Case No.: CV14-04354 JAK MRW
                                                  ) Assigned: Hon. John A. Kronstadt
11             Plaintiff,                         )
                                                  )
12             vs.                                )
                                                  )
13     CAPITAL ONE SERVICES, LLC, is a            ) NOTICE OF SETTLEMENT
       business entity, form unknown; EQUIFAX     )
14     INFORMATION SERVICES, LLC, is a            )
       business entity, form unknown;             )
15     TRANSUNION, LLC is a business entity, form )
       unknown; EXPERIAN INFORMATION              )
16     SOLUTIONS INC., a Corporation, and DOES )
       1-10, Inclusive,                           )
17                                                )
               Defendants.                        )
18
19            TO THE COURT AND ALL INTERESTED PARTIES:
20            PLEASE TAKE NOTICE that the parties have settled the above-referenced case and are
21     in the process of completing the settlement terms and will be filing stipulations of dismissal and
22     (proposed) orders of dismissal. Plaintiff estimates that these matters should be completed within
23     two to three weeks.
24     Dated: Jan. 9 , 2015                  LAW OFFICES OF ROBERT F. BRENNAN AP.C.
25
                                             By /s/ Robert F. Brennan
26                                           Robert F. Brennan
                                             Attorney for Plaintiff
27
28
                                            NOTICE OF SETTLEMENT
29
30
31
